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JS44 {Rev o6m)                       Gl) L1 l~ ' ,.IL COVER SHEET-            ... '      111'   J
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The JS 44 C!Vll cover sheet and the mformauon contained herem neither re!)lace nor supplement the fihng and service ofpleadmgs or other papers as regutred by law. except                                                as
provided by local rules of court This form. approved by the Jud1c1al Conference of the Umted States m September J974, is required for the use of the Clerk of Court for the
purpose of 1mt1atmg the CIVIi dock.et sheet (SEF INSTRUCTIONS ON NFXT PAGE Or THIS J-Of{MJ

I. (a) PLAI:"ITIFFS                                                                                                 DEFENDANTS
                     Christopher Antoniacci and Phyllis                       E.   McG                              Vergara Contracting, LLC, Adolfo Vergara and Oscar Amarilla

                     1042     Washington Crossing Road, Washi                           ton Cr ssing, P             1140 Oak           Road, Whitehouse Station,                          NJ        889
         (b)        County of Residence offtrst Listed Plamt1ff                                                     County of Residence of First Listed Defendant
                                      !EXCEPT IN US PIA/NT !Fr CASES                                                                       f/N US PLAJNTIFF CASE
                                                                                                                    NOTE    IN LAND CONDEMN AT!ON CASES. lJ
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         ( C}       Attorneys (Firm Name. Address, and Telephone Nurnbe                                              Attorneys (If Known)

                Michael         J.   Clement, Esq.             Phone:

                Wisler Pearlstine, LLP,                 460    Norristo

II. BASIS OF JURISDICTION rp1acean "X                                     mOneBoxOnlyJ               III. CITIZENSHIP OF P                        NCIPAL PARTIES (P1acean                          'X" 1nOneBoxforPla1n1iff
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w.          CA{;SE OF ACTION
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VII. REQt:ESTED IN    ::i CHECK IF THIS IS A CLASS ACTION                                                     DEMAND $75,000                              ..... CHECK YES only 1f /e~::i:s               mcomplamt
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Vlll. RELATED CASE(S)
                         (See instructwns)
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  October 11 2018
FOR OFFICE t:SE ONLY

      RECEIPT#                            AMOVN1                                                                                     JL'DGE                                 MAG JL'DGE
                 Case 2:18-cv-04586-JHS Document 1 Filed 10/18/18 Page 2 of 11


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 Address of Phuntiff               both Plaintiffs 1042 Washington Crossing Rd. PO Box 1052, Washington Crossing, PA 18977

Address of Defendant: _a_n_t_h_re_e_D_e_f_e_n_d_an_t_s_1_1_4_o_o_a~~!.~_W_h_1t_e_h_o_u_se_s_tat1on. NJ 08889 _______.,,._~~--

Pl11ce of Accident, Incident or Tnmsi!cliun· Aquetong ~-·232. Solebury Township, Bucks County. PA



R.EUTBD CASE, IF ANY:



CiVi' cases are dec1ned related when l't! iS answered to any of the followlng questions:

l.    Is this case relnted to property included in a11 c~rlicr numbered suit pending or within one year
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      numbered case pending or within one year previously 1en11inated acllon of this court?
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4     Is this case a second or successive habeas corpus, s
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I certify that, to my knowledge, the within case                                                                   pending or Within one year previously terminated action Ill

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this court except as noted above.
              October 24. 2018
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          ~l~      cs'j      IN THE UNITED STATES DISTRICT COURT

   J ~ ~ffeSE             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                          _,
                                MANAGEMENT TRACK DESIGNATION FORM
                                                                             CIVIL ACTION
· CHRISTOPHER ANTONIACCI, ET AL.
                           v.                                               18           4586
 VERGARA CONTRACTING, LLC, ET AL.                                            NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus -- Cases brought under 28 U.S.C. § 2241 through§ 2255.                            ( )
(b) Social Security - Cases requesting review of a decision of the Secretary of l lealth
    and Human Services denying plaintiff Social Security Benefits.                                  ( )
(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.      ( )
(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                           ( )
(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f) Standard Management - Cases that do not fall into any one of the other tracks.



 October I I. 2018                 Michael J. Clement, Esq.          Plaintiffs Christopher Antoniacci and
Date                                 Attorney-at-law                     Attorney for Phyllis E. McGrady
 610-825-8400                     610-828-4887                            mclement@wispearl.com


Telephone                             FAX Number                         E-Mail Address


(Civ. 660) 10/02




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                          ~--~:;..: '~~I::fED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF         PEJ'..~SYL VANIA



CHRISTOPHER ANTONIACCI
AND PHYLLIS E. McGRADY, H/W                                            18          4586
                  v.
VERGARA CONTRACTING, LLC;
ADOLFO VERGARA;
AND OSCAR AMARILLA




                                                COMPLAINT

         Plaintiffs Christopher Antoniacci and Phyllis E. McGrady hereby file this Complaint

against Defendants Vergara Contracting, LLC, Adolfo Vergara and Oscar Amarilla and, in

support thereof, aver:

         PARTIES:

         1.       Plaintiff Christopher Antoniacci is an adult and competent individual, and the

husband of Phyllis E. McGrady, residing at 1042 Washington Crossing Road, Washington

Crossing, Bucks County, Pennsylvania.

        2.        Plaintiff Phyllis E. McGrady is the wife of Christopher Antoniacci and is an adult

and competent individual residing at 1042 Washington Crossing Road, Washington Crossing,

Bucks County, Pennsylvania.

        3.        Defendant Oscar Amarilla is an adult and competent individual with a last known

address he supplied to the police for a vehicle accident report at 1140 Oak Road, Whitehouse

Station, New Jersey 08889.



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             Case 2:18-cv-04586-JHS Document 1 Filed 10/18/18 Page 5 of 11



        4.       Defendant Vergara Contracting, LLC is a limited liability company with a

business office at 1140 Oak Road, Whitehouse Station, New Jersey 08889.

        5.       Defendant Adolfo Vergara is an adult and competent individual, being the sole

member and proprietor of Vergara Contracting, LLC, with a business office at 1140 Oak Road,

Whitehouse Station, New Jersey 08889.


        JURISDICTION AND VENUE:

        6.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332(a)

because the parties are of diverse citizenship and the amounts in controversy exceed $75,000.00.

        7.       Venue is proper in this District pursuant to 28 U.S.C. §1391(a) because the claims

arose in this District and/or substantially part of the events or omissions forming the basis of, or

giving rise to, the claims occurred in this District. In addition, Defendant Adolfo Vergara and

Defendant Vergara Contracting, LLC do business in the Commonwealth of Pennsylvania and the

matters giving rise to this Complaint occurred in the Eastern District of Pennsylvania.


        FACTS:

        8.       On September 2, 2017, at approximately 8:30 a.m. Christopher Antoniacci was

driving a 2011 Jeep Cherokee owned by his wife, Phyllis E. McGrady, travelling south on

Aquetong Road at Route 232 when he stopped and then proceeded into the intersection.

        9.       At that time and place on September 2, 2017, at approximately 8:30 a.m.,

Defendant Oscar Amarilla was driving a 2002 Ford F350 truck owned by Adolfo Vergara and

was on the business and was performing duties for and at the direction of Adolfo Vergara and/or

Vergara Contracting, LLC; he was travelling west on Route 232 at its intersection with Aquetong

Road in Bucks County, Pennsylvania, when he ignored a stop sign governing his travel lane and
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drove through the intersection at a high rate of speed, crashing into the driver's side of the Jeep

vehicle then and there being lawfully operated by Plaintiff Christopher Antoniacci.

        10.      Defendant Amarilla was careless and negligent in the operation of the 2002 Ford

F350 truck when he ignored the stop sign governing his lane of travel and drove at a high rate of

speed into the driver's side of Plaintiff Antoniacci's plainly visible vehicle, thereby resulting in

serious and permanent injuries and damage to Plaintiff Christopher Antoniacci.

        11.      On September 2, 2017, Defendant Amarilla was an unlicensed driver, having no

license to operate a vehicle in either Pennsylvania or New Jersey.

        12.      On September 2, 2017, Amarilla was on the business of, performing duties for,

and operating the vehicle under the direction and instruction of its owner, Defendant Adolfo

Vergara, who knew or should have known that Defendant Amarilla was an unlicensed driver.

         13.     On September 2, 2017, Defendant Amarilla was driving the 2002 Ford F350 truck

on the business of, performing duties for, and pursuant to the contracting operations of Vergara

Contracting, LLC, as directed by its managing member, Defendant Adolfo Vergara.

         14.     Defendant Vergara Contracting, LLC, through its managing member Adolfo

Vergara, was responsible for the actions of its agent/employee, Defendant Amarilla, on

September 2, 201 7.

        15.      Defendant Vergara Contracting, LLC, through it managmg member Adolfo

Vergara, was careless and negligent in: (i) hiring an unlicensed Oscar Amarilla; (ii) failing to

properly supervise Oscar Amarilla; (iii) failing to determine if Oscar Amarillo could safely

operate a Ford F350 truck; and (iv) negligently entrusting Defendant Amarilla to drive the 2002

Ford F350 truck on its business and in connection with its operations on September 2, 2017.



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         16.     Defendant Adolfo Vergara was careless and negligent in: (i) hiring an unlicensed

Oscar Amarilla; (ii) failing to properly supervise Oscar Amarilla; (iii) failing to determine if

Oscar Amarillo could safely operate a Ford F350 truck; and (iv) negligently entrusting

Defendant Amarilla to drive the 2002 Ford F350 truck on its business and in connection with its

operations on September 2, 2017.

         17.     As a direct and proximate result of the carelessness and negligence of the

Defendants as aforesaid, Christopher Antoniacci sustained serious head, back and leg injuries,

including, without limitation:

                        Traumatic brain injury including severe concussion;
                        Severe facial injuries including the loss of five teeth;
                        Orthodontic nerve damage resulting in 4 root canal procedures;
                        Acute compressed fracture of the T-12 vertebra
                        Contusion of the T-11 vertebra body;
                        Coccyx deformity and back injuries;
                        Left knee damage;
                        Bruises, contusions and lacerations.

         18.     As a direct and proximate result of the carelessness and negligence of the

Defendants, Plaintiff Christopher Antoniacci required and will continue to require medical care

and treatment, surgery, physical therapy, x-rays, diagnostic testing, use of pain medications, and

the use of rehabilitative services.

         19.     As a direct and proximate result of the carelessness and negligence of the

Defendants, Plaintiff Christopher Antoniacci has incurred medical expenses and he will continue

to incur medical expenses for the care and treatment of his injuries for a long time and indefinite

time in the future.




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        20.      As a direct and proximate result of the carelessness and negligence of the

Defendants, Plaintiff Christopher Antoniacci has suffered a loss of earnings, and earnings

capacity, as well as impairment of his future earning capacity.

        21.      As a direct and proximate result of the carelessness and negligence of the

Defendants, Plaintiff Christopher Antoniacci has suffered and will continue to suffer from pain,

discomfort, inconvenience, anxiety, embarrassment, disability, the inability to engage in his

usual activities, and the deprivation of the ordinary and usual enjoyment of life and life's

pleasures.

        22.      As a direct and proximate result of the carelessness and negligence of the

Defendants, Plaintiff Phyllis E. McGrady, the wife of Plaintiff Christopher Antoniacci, has

suffered and will continue to suffer the loss of the comfort, companionship and consortium of her

husband Christopher Antoniacci.


        CAUSES OF ACTION.

        COIBT I -- CHRISTOPHER ANTONIACCI v. OSCAR AMARILLA.

        23.      Plaintiff Christopher Antoniacci incorporates herein by reference the averments

contained in Paragraphs 1 through 22 as ifthe same were fully set forth herein.

         WHEREFORE, Plaintiff Christopher Antoniacci prays this Honorable Court grant

judgment in his favor and against Defendant Oscar Amarilla for compensatory damages in an

amount in excess of the arbitration limit established by Rule 53.2 of the Local Rules of Civil

Procedure of the Eastern District of Pennsylvania, together with interest, costs of suit, and such

other relief as this Honorable Court deems just and proper.




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         COUNT II -- CHRISTOPHER ANTONIACCI v. ADOLFO VERGARA.

         Plaintiff Christopher Antoniacci incorporates herein by reference the averments

contained in Paragraphs 1 through 22 as if the same were fully set forth herein.

         WHEREFORE, Plaintiff Christopher Antoniacci prays this Honorable Court grant

judgment in his favor and against Defendant Adolfo Vergara for compensatory damages in an

amount in excess of the arbitration limit established by Rule 53.2 of the Local Rules of Civil

Procedure of the Eastern District of Pennsylvania, together with interest, costs of suit, and such

other relief as this Honorable Court deems just and proper.


   COUNT III -- CHRISTOPHER ANTONIACCI v. VERGARA CONTRACTING, LLC.

         24.      Plaintiff Christopher Antoniacci incorporates herein by reference the averments

contained in Paragraphs 1 through 22 as ifthe same were fully set forth herein.

         WHEREFORE, Plaintiff Christopher Antoniacci prays this Honorable Court grant

judgment in his favor and against Defendant Vergara Contracting, LLC for compensatory

damages in an amount in excess of the arbitration limit established by Rule 53.2 of the Local

Rules of Civil Procedure of the Eastern District of Pennsylvania, together with interest, costs of

suit, and such other relief as this Honorable Court deems just and proper.


         COG~T      IV -- PHYLLIS E. McGRADY v. OSCAR AMARILLA.

         25.      Plaintiff Phyllis E. Mc Grady incorporates herein by reference the averments

contained in Paragraphs 1 through 22 as if the same were fully set forth herein.

         WHEREFORE, Plaintiff Phyllis E. McGrady prays this Honorable Court grant judgment

in her favor and against Defendant Oscar Amarilla for compensatory damages in an amount in

excess of the arbitration limit established by Rule 53.2 of the Local Rules of Civil Procedure of
{01727311 }                                        6
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the Eastern District of Pennsylvania, together with interest, costs of suit, and such other relief as

this Honorable Court deems just and proper.


        COL';\;T V -- PHYLLIS E. McGRADY v. ADOLFO VERGARA.

        26.    Plaintiff Phyllis E. McGrady incorporates herein by reference the averments

contained in Paragraphs 1 through 22 as if the same were fully set forth herein.

        WHEREFORE, Plaintiff Phyllis E. McGrady prays this Honorable Court grant judgment

in her favor and against Defendant Adolfo Vergara for compensatory damages in an amount in

excess of the arbitration limit established by Rule 53.2 of the Local Rules of Civil Procedure of

the Eastern District of Pennsylvania, together with interest, costs of suit, and such other relief as

this Honorable Court deems just and proper.


        COUNT VI -- PHYLLIS E. McGRADY v. VERGARA CONTRACTING, LLC.

        27.    Plaintiff Phyllis E. McGrady incorporates herein by reference the averments

contained in Paragraphs 1 through 22 as if the same were fully set forth herein.

        WHEREFORE, Plaintiff Phyllis E. McGrady prays this Honorable Court grant judgment

in her favor and against Defendant Vergara Contracting, LLC for compensatory damages in an

amount in excess of the arbitration limit established by Rule 53.2 of the Local Rules of Civil

Procedure of the Eastern District of Pennsylvania, together with interest, costs of suit, and such

other relief as this I Ionorable Court deems just and proper.




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    JURY TRIAL DEMANDED.
     Plaintiffs hereby demand a trial by jury in this matter.

                                           Respectfully submitted,




                                              ic el J. Clemen ,
                                            Attorney I.D. 2003
                                            460 Norristovm Road, Suite 110
                                            Blue Bell, PA 19422
                                            Phone: 610/ 825-8400 I Fax: 610/ 828-4887
                                            Email: mclement @wispearl.com




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